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AO 88B (Rev: 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Massachusetts [=]
Brent S., et al.
Plaintiff )
) Civil Action No, 1:17-cv-11569-ADB
Blue Cross and Blue Shield of )
Massachusetts HMO Blue, Inc., et al. )
Defendant )

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

Custodian of Records for Denials Management, Inc.,
4424 South 700 East, Suite 100, Salt Lake City, UT 84107

To:

(Name of person to whom this subpoena is directed)

“ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment 1

Place: First Legal Records c/o ICU Investigations Date and Time:
2223 S. Highland Dr., #E6-195, Salt Lake City, UT 84106 .
Or electronically to: lisa.weddle@morganlewis.com and May 14, 2021 at 10:00 a.m.

emily.calmeyer@morganlewis.com

1 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

Place: Date and Time:

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: April 22, 2021

CLERK OF COURT
OR
/s/ Lisa Weddle
Signature of Clerk or Deputy Clerk Attorney's signature
The name, address, e-mail address, and telephone number of the attorney representing (name of party) Defendants
Blue Cross and Blue Shield of Massachusetts HMO Blue, Inc., et al. , who issues or requests this subpoena, are:

Lisa Weddle, Morgan Lewis & Bockius LLP, 300 S. Grand Ave., 22nd Floor, Los Angeles, CA 90071
lisa.weddle@morqanlewis.com, 213-612-2500

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorncy
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—wwhich may include
lost earnings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections, A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, ifno
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without unduc hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Praduced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form,

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

For aceess to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

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ATTACHMENT 1
DEFINITIONS

The following definitions apply to these requests for production:
1. The term “Adolescent(s)” means persons under 19 years of age.

2. The connectives “and” and “or” shall be construed either disjunctively or
conjunctively as necessary to bring within the scope of the discovery request all responses that
might otherwise be construed to be outside of its scope.

3. The term “Brent S. Litigation” means the action filed in the United States District
Court for the District of Massachusetts titled Brent S. et al. v. Blue Cross and Blue Shield of
Massachusetts, Inc., Civil Action No. 1:17-cv-11569-ADB.

4. The term “communication” means the transmittal of information (in the form of
facts, ideas, inquiries, or otherwise).

5. The terms “Defendants” refers to Blue Cross and Blue Shield of Massachusetts
HMO Blue, Inc. and/or Blue Cross and Blue Shield of Massachusetts, Inc., and any and all of
their parents, subsidiaries, affiliates, joint ventures, predecessors and successors, as well as their
directors, officers, employees, past or present agents, representatives or other persons acting, or
purporting to act, on their behalf.

6. The term “document” is defined to be synonymous in meaning and equal in scope
to the usage of this term in Fed. R. Civ. P. 34(a). A draft or non-identical copy is a separate
document within the meaning of this term.

7. The terms “Facility” and “Facilities” means the following facilities or providers:
Ashcreek Ranch Academy; Asheville Academy for Girls; Volunteers of America Bar-None;
Cedar Ridge Inc.; Change Academy at Lake of the Ozarks; Children’s Home of Reading;
Chrysalis School; Crossroads Academy; Discovery Ranch; Elevations RTC; Equinox RTC;
Gateway Academy LLC Draper; Ironwood Maine LLC/Ironwood School and Residential
Treatment Center; Kids Behavioral Health of Montana; La Europa Academy; Liahona Academy;
Logan River Academy; Maple Lake Academy for Boys; Moon Ridge Academy; New Hope
Carolinas; Solacium Fulshear LLC; Soltice East LLC; Summit Achievement of Stow; Sunrise
Residential Treatment Center; Teen Challenge Ranch of Northwest; Telos Residential Treatment
LLC; The High Frontier Inc.; UT-TEX. Inc.; Uinta Academy; Vista at Dimple Dell Canyon; and
Willowglen Academy.

8. The terms “person” and “persons” means and includes, without limiting the
generality of its meaning, any natural or individual person, corporation, proprietorship, joint
venture, business trust or other business enterprise or entity, firm, partnership, association,
governmental body, agency or subdivision, committee, commission, or other organization or
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entity.

9. The term “relating to” and “regarding” means concerning, describing, referring to,
constituting, embodying, reflecting, identifying, stating, evidencing, substantiating and/or being
in any way relevant to a given subject.

10. The terms “you,” “your,” and “Denials Management” means Denials
Management, Inc. and any and all parents, subsidiaries, affiliates, joint ventures, predecessors
and successors, as well as its directors, officers, employees, past or present agents,
representatives or other persons acting, or purporting to act, on its behalf. It does not include
your attorneys.

11. The use of the singular form of any word includes the plural and vice versa.

REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NQ. 1:

All documents or communications you had with any parent or guardian regarding
whether or not an Adolescent’s stay at any of the Facilities would be covered as residential
treatment by Defendants.

REQUEST FOR PRODUCTION NO. 2:

All documents or communications regarding the Brent S. Litigation.

REQUEST FOR PRODUCTION NO. 3:

All documents or communications relating to Defendants’ denial(s) of benefits for
residential services related to an Adolescent’s stay at any of the Facilities.

REQUEST FOR PRODUCTION NO. 4:

All documents or communications regarding any fees you received or will receive
relating to the Brent S. Litigation and/or the stay of an Adolescent, who has insurance through or
administered by Defendants, at any of the Facilities.

REQUEST FOR PRODUCTION NO. 5:

Your contracts or agreements with any of the Facilities.

REQUEST FOR PRODUCTION NO. 6:

Your contracts or agreements with anyone, including any named plaintiff in the Brent S.
Litigation, concerning requests for coverage of residential services for an Adolescent’s stay at
any of the Facilities.
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REQUEST FOR PRODUCTION NO. 7:

Your contracts or agreements with anyone, including any named plaintiff in the Brent S.
Litigation, concerning the Brent S. Litigation.

REQUEST FOR PRODUCTION NO. 8:

All documents relating to contracts or agreements between you and any counsel involved
in the Brent S. Litigation, including Brian S. King, Esq., representatives of Brian S. King, or the
entity Brian S. King, P.C.; Sean K. Collins, representatives of Sean K. Collins, or the Law
Offices of Sean K. Collins; Jonathan M. Feigenbaum, representatives of Jonathan M.
Feigenbaum, or the Law Offices of Jonathan M. Feigenbaum; Ex Kano S. Sams II,
representatives of Ex Kano S. Sams II, or Glancy, Prongay & Murray LLP; and Mala M. Rafik;
representatives of Mala M. Rafik, or the entity Rosenfeld & Rafik, P.C.

REQUEST FOR PRODUCTION NO. 9:

All documents or communications between you and anyone from AO Therapeutic
Consulting, Inc. (formerly known as Academic Options, Inc.), or any other academic or
educational consulting and/or placement company or organization, regarding placement of an
Adolescent at any of the Facilities.
